      Case 2:22-cv-00184-LCB-CWB Document 528 Filed 05/18/24 Page 1 of 8




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

BRIANNA BOE, et al.,                     )
                                         )
       Plaintiffs,                       )
                                         )
and                                      )
                                         )      Case No.: 2:22-cv-00184-LCB
UNITED STATES OF AMERICA,                )
                                         )
       Plaintiff-Intervenor,             )
                                         )
v.                                       )
                                         )
STEVE MARSHALL, in his official
                                         )
capacity as Attorney General of the
                                         )
State of Alabama, et al.,
                                         )
                                         )
       Defendants.
                                         )


        KATHLEEN HARTNETT’S RESPONSE TO THE COURT’S
      MAY 17, 2024 ORDER AND EMERGENCY MOTION FOR STATUS
        CONFERENCE AND STAY OF PRODUCTION DEADLINE

       Respondent Kathleen Hartnett responds to the Court’s May 17, 2024 Order

and moves for a Status Conference as early as practicable in the morning of May 20,

2024, as well as a stay of the court-ordered production deadline of 5:00 p.m. on May

20, 2024.

       Response to Show Cause. In its May 17, 2024 Order (the “Order”), the Court

directs Ms. Hartnett and certain other Respondents “to produce the Q & A document
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     Case 2:22-cv-00184-LCB-CWB Document 528 Filed 05/18/24 Page 2 of 8




by May 20, 2024 at 5:00 p.m. or show cause why they should not be sanctioned for

violating a court order.” Doc. 527 at 1. The Order states that Respondents have been

under court order since 2022 to produce the privileged Q & A document and have

flouted that order. See, e.g., id. at 4 (citing Panel’s initial order to produce); id. at 6

(stating that after Respondents’ protective order motion was denied, “counsel

remained under a court order to produce the materials, including the Q & A”); id. at

17 (referring to “contumacious refusals to disclose court-ordered materials”).

      However, the Panel explicitly stated on the record that it was not requiring the

production of the Q&A document:

      MR. SEGALL: …. I would also, Your Honor, like for today’s purposes
      to have a continuing objection on the basis of all the privileges that have
      been mentioned, work product, attorney-client, common interest, joint
      client, et cetera.

      JUDGE PROCTOR: …. [W]e certainly understand we’ve not made
      you provide us documents, the Q and A sheet, the talking points that
      Doss was going to use either here or before Judge Burke at the hearing.
      So we’re all right with y’all asserting anything we’re not actually saying
      is work product we’re reserving our work product objection. But I
      thought that there had been a decision to be somewhat candid with the
      Court about why these decisions were made. Am I missing the boat on
      my recollection here?

      MR. SEGALL: Well, you’re correct that I didn’t say anything during
      May 20 at all about that. But if I understand the Court’s ruling –and,
      of course, we gave declarations. And in those declarations, we’ve, in
      my judgment, violated one or more privileges.

      JUDGE PROCTOR: Well, you – I wouldn’t say you violated it. I
      would say there was a limited waiver of the work product privilege,
      not the attorney-client privilege but the work product privilege….
                                            2
     Case 2:22-cv-00184-LCB-CWB Document 528 Filed 05/18/24 Page 3 of 8




November 3, 2022 Transcript, 22-mc-3977, Vague Doc. 79, pp. 4:17–5:22

(emphases added) (attached hereto as Exhibit A).

      Ms. Hartnett has not violated a court order. To the contrary, the Panel

expressly acknowledged that Respondents (1) were under no continuing order to

produce the privileged Q & A document and (2) had not waived the attorney-client

privilege with respect to that document or otherwise. The Panel did not require

production of the Q&A document because, as made clear in its July 25, 2022 Order,

it was “not seeking the disclosure of privileged communications.” Doc. 41 at 4. Mr.

Ragsdale and Mr. Inglehart notified the Panel that the Q&A document was being

withheld on attorney-client privilege grounds, consistent with the Panel’s Order that

it was not seeking production of privileged, attorney-client communications. Doc.

527 at 6-7.

      The context of the creation of the Q&A document not only confirms that it is

attorney-client privileged material, but also belies any notion that the document was

nefarious or improper. After the entry of the initial order instituting the Vague

proceedings on May 10, 2022 and setting a hearing in 10 days (Vague Doc. 1),

members of the Walker team prepared the Q&A document at the direction of their

newly retained counsel, Barry Ragsdale, to assist him with understanding the facts

and history of the Walker case and to prepare him for questions that might be asked

by the Panel at the May 20 hearing. See Esseks Decl., Vague Doc. 34-1; Hartnett
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     Case 2:22-cv-00184-LCB-CWB Document 528 Filed 05/18/24 Page 4 of 8




Decl. at 32-35, Doc. 521-1. Mr. Ragsdale had been retained just days before the

May 20 hearing, and there was limited time for Mr. Ragsdale to learn all the relevant

information and ensure that his representations to the Court were informed and

accurate; the Q&A document was part of that preparation. Id.

      Furthermore, the Panel’s instruction to Respondents in advance of the May

20, 2022 hearing was as follows: “Each counsel is ORDERED to appear before a

three-judge panel in Courtroom 2F of the Frank M. Johnson Jr. U.S. Courthouse on

May 20, 2022 at 9:30 A.M. to allow the panel to inquire about the issues raised by

counsel’s actions.” The Panel did not inform the Respondents that sworn testimony

would be taken at the May 20 hearing. Therefore, the Respondents and their counsel

mistakenly believed that the hearing would involve only a presentation by their

counsel, Mr. Ragsdale, and perhaps presentations by certain senior lawyers from the

Walker and Ladinsky teams—not testimony. Vague, Doc. 75 at 76–77. In fact, Mr.

Ragsdale stated on the record at the May 20 hearing that he did not expect any of the

Respondents to be called to testify during the hearing. See Doc. 75 at 76:23–77:12.

That neither Respondents nor their counsel had any expectation that Respondents

would be testifying on May 20 underscores that the Q&A document was not a tool

to synthesize testimony but rather a means to educate Mr. Ragsdale and prepare him

for questioning during argument.




                                         4
     Case 2:22-cv-00184-LCB-CWB Document 528 Filed 05/18/24 Page 5 of 8




      Ms. Hartnett testified about the Q&A document in her July 27, 2022

Declaration. See Doc. 521-1, Hartnett Decl. at 32-35. She was forthcoming with the

Panel about the existence of, reasons for, and use of the Q&A document. And this

testimony only confirms that the Panel was fully informed about the existence and

nature of the Q&A document when Judge Proctor stated on the record at the

November 3 hearing that “we certainly understand we’ve not made you provide us

documents, the Q and A sheet,” as the Panel had not sought attorney-client privileged

information. Vague Doc. 79 at pp. 4:17–5:22.

      Simply put, Ms. Hartnett has not failed to comply with any court order.

      Request for Status Conference and Stay of the Production Deadline. Ms.

Hartnett respectfully requests a telephonic status conference as early as practicable

in the morning of Monday, May 20, in light of the 5:00 p.m. Monday deadline to

produce the Q&A document, so that the parties can discuss with the Court potential

alternatives to address the issues raised by the Court. Ms. Hartnett also respectfully

requests a stay of the deadline for producing the Q&A document so that the matters

addressed by the Order can be properly briefed as necessary.

      Critically, the question of whether any exception to the attorney-client

privilege warrants this Court’s in camera review of the Q&A document has never

previously been briefed in this matter by Ms. Hartnett or any Respondent. In

particular, the Court’s sua sponte invocation of the crime-fraud exception is the first

                                          5
     Case 2:22-cv-00184-LCB-CWB Document 528 Filed 05/18/24 Page 6 of 8




time that this serious allegation against Ms. Hartnett has been raised as a basis for

breaching her attorney-client privilege in these proceedings. As explained above, the

Panel allowed Respondents to withhold the Q&A document as privileged and, in

explaining that it did not view these proceedings as adversarial, expressly stated that

“[t]here is no opposing party to raise potential exceptions to privilege or protection:

for example, waiver or the crime-fraud exception.” Vague, Doc. 41 at 3.

      In addition to raising the crime-fraud exception sua sponte, the Court

apparently has already made a determination there is a prima facie showing of its

applicability. Ms. Hartnett should be permitted to brief the issue of whether the

crime-fraud exception applies in these circumstances. As the Third Circuit has held,

“[W]here a fact finder undertakes to weigh evidence in a proceeding seeking an

exception to the privilege, the party invoking the privilege has the absolute right to

be heard by testimony and argument.” Haines v. Liggett Grp. Inc., 975 F.2d 81, 97

(3d Cir. 1992), as amended (Sept. 17, 1992).

       If allowed to brief this issue, Ms. Hartnett will show that there is no basis for

invoking the crime-fraud exception against her. Indeed, the Panel repeatedly praised

Ms. Hartnett for being candid and helpful. See Doc. 521 at 3 (quoting Judge

Proctor’s comments to Ms. Hartnett on four different occasions during her testimony

on August 3, 2022, including: “One of the things I was impressed with with your




                                           6
     Case 2:22-cv-00184-LCB-CWB Document 528 Filed 05/18/24 Page 7 of 8




declaration is its clarity, its organization, and its candor. So I want to give you that

compliment as we stand here.”).

      Finally, that Your Honor will be the finder of fact and decision-maker in this

proceeding fundamentally distinguishes these circumstances from the typical

scenario where the judge determines the validity of a claim of privilege before a

document is produced to an opposing party or shown to the jury. A potential

alternative to producing the Q&A document to Your Honor could be the

appointment of a special master to evaluate the applicability of any potential

exception to the attorney-client privilege.1 There may also be other potential

alternatives. Ms. Hartnett and her counsel believe that a discussion of these matters

before the 5:00 PM production deadline, and a stay of that deadline pending further

briefing, could help the Respondents and the Court avoid either a waiver of the

privilege or the possibility of an emergency petition to the Eleventh Circuit for the

sole purpose of avoiding a waiver.

                                        * * *




1
  Because of the prior involvement in this proceeding of all the judges from the
federal districts in Alabama, see Aug. 3, 2022 Hrg. Trans. at 9–10, any special master
appointed for the purpose of deciding the applicability of the crime-fraud exception
would need to be from a federal court outside Alabama or a private attorney with no
prior connection to this or the underlying proceedings.
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     Case 2:22-cv-00184-LCB-CWB Document 528 Filed 05/18/24 Page 8 of 8




      For these reasons, Ms. Hartnett respectfully submits that she has violated no

court order, and she respectfully requests a status conference on the morning of

Monday, May 20, 2024, as well as a stay of the 5:00 p.m. production deadline.

      Respectfully submitted, May 18, 2024

                                            /s/ Brannon J. Buck
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                          CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing has been served
on all parties of record via the CM/ECF electronic filing system, electronic mail,
and/or U.S. Mail on this the 18th day of May, 2024.



                                           /s/ Brannon J. Buck
                                           OF COUNSEL




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